Case 8:22-cv-00099-DOC-DFM Document 358 Filed 06/08/22 Page 1 of 3 Page ID #:5773



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 3
     Counsel for the Congressional Defendants
 4
 5
                             UNITED STATES DISTRICT COURT
 6
                           CENTRAL DISTRICT OF CALIFORNIA
 7
 8                                  SOUTHERN DIVISION

 9     JOHN C. EASTMAN                          Case No. 8:22-cv-00099-DOC-DFM
10                  Plaintiff,
11                                              CONGRESSIONAL DEFENDANTS’
       v.                                       REPLY TO PLAINTIFF’S MOTION
12                                              FOR EXTENSION
       BENNIE G. THOMPSON et al.,
13
                    Defendants.
14

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16
17
            Congressional Defendants recognize that Dr. Eastman and Mr. Burnham’s
18
19 personal complications make compliance with the original deadline a hardship, and they
20 hereby agree to accept a rolling production of materials identified in this Court’s June 7

21
     Order (ECF 356), concluding by Monday, June 13, 2022. While this deadline is three
22
23 days prior to Plaintiff’s requested deadline, see ECF 357, Congressional Defendants trust
24 that Mr. Burnham’s co-counsel or other law firm colleagues should be able to assist
25
     counsel in providing the Court-ordered materials as expeditiously as possible.
26

27 Congressional Defendants request that documents relating to the First Amendment issues
28 and other documents where there is no identified client should be produced up front.
                                              1
       CONGRESSIONAL DEFENDANTS’ REPLY TO PLAINTIF’S MOTION FOR
                            EXTENSION
Case 8:22-cv-00099-DOC-DFM Document 358 Filed 06/08/22 Page 2 of 3 Page ID #:5774



 1                                       Respectfully submitted,

 2                                       /s/ Douglas N. Letter
 3                                       DOUGLAS N. LETTER
                                           General Counsel
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 5                                       OFFICE OF GENERAL COUNSEL
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 7                                       5140 O’Neill House Office Building
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 9                                       Douglas.Letter@mail.house.gov
10                                       Counsel for Congressional Defendants
11
12
13
     Dated: June 8, 2022
14

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      CONGRESSIONAL DEFENDANTS’ REPLY TO PLAINTIF’S MOTION FOR
                           EXTENSION
Case 8:22-cv-00099-DOC-DFM Document 358 Filed 06/08/22 Page 3 of 3 Page ID #:5775


 1                             CERTIFICATE OF SERVICE
 2
                       WASHINGTON, DISTRICT OF COLUMBIA
 3       I am employed in the aforesaid county, District of Columbia; I am over the age of
 4 18 years and not a party to the within action; my business address is:

 5        OFFICE OF GENERAL COUNSEL
          U.S. HOUSE OF REPRESENTATIVES
 6        5140 O’Neill House Office Building
          Washington, D.C. 20515
 7
 8
         On June 8, 2022, I served the REPLY TO PLAINTIFF’S MOTION FOR
     EXTENSION on the interested parties in this action:
 9
          Anthony T. Caso
10
          Constitutional Counsel Group
11        174 W Lincoln Ave #620
          Anaheim, CA 92805-2901
12
          atcaso@ccg1776.com
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          Charles Burnham
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15        1424 K Street NW, Suite 500
16
          Washington, DC 20005
          charles@burnhamgorokhov.com
17
18
          Attorneys for Plaintiff John C. Eastman

19       (BY E-MAIL OR ELECTRONIC TRANSMISSION)
20         The document was served on the following via The United States District Court –
           Central District’s CM/ECF electronic transfer system which generates a Notice
21         of Electronic Filing upon the parties, the assigned judge, and any registered user
22
           in the case:

23
         (FEDERAL) I declare under penalty of perjury that the foregoing is true and
24                 correct, and that I am employed at the office of a member of
                   the bar of this Court at whose direction the service was made.
25
26        Executed on June 8, 2022 here, at Bethesda, Maryland.

27
                                                    /s/ Douglas N. Letter
28



                                   CERTIFICATE OF SERVICE
